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                      UNITED STATES DISTRICT COURT

                             DISTRICT OF MAINE


UNITED STATES OF AMERICA             )
                                     )
                                     )
                                     )
v.                                   )           NO. 2:08-CR-67-DBH-03
                                     )
ROLAND DAVIS,                        )
                                     )
                   DEFENDANT         )


     ORDER ON MOTION TO APPOINT COUNSEL AND REDUCE SENTENCE


       The defendant Roland Davis has filed a motion for appointment of

counsel and to reduce sentence on account of the retroactive, more lenient,

crack cocaine Guideline.     Letter of Def. (Docket Item 310).     Because the

amendment does not change Davis’s Guideline range, the motion is DENIED.

       At his original sentencing, Davis was held responsible for 2.97 kilograms

of crack cocaine, and that drug quantity resulted in a Base Offense Level of 36

(1.5 to 4.5 kilograms of crack cocaine). Davis then received a 2-level increase

for possession of a dangerous weapon and a 3-level reduction for acceptance of

responsibility, which resulted in a Total Offense Level of 35. In combination

with his Criminal History Category of I, Davis’s Guideline range was 168-210

months.

       The new crack cocaine Guideline does not change Davis’s Base Offense

Level. For 2.97 kilograms of crack cocaine, the Base Offense Level is still 36

(2.8 to 8.4 kilograms of crack cocaine). Since Davis’s Base Offense Level does
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not change, his Total Offense Level and guideline range also remain the same.

There is therefore no basis to reduce his sentence.

      SO ORDERED.

      DATED THIS 4TH DAY OF NOVEMBER, 2011

                                           /s/D. Brock Hornby
                                           D. BROCK HORNBY
                                           UNITED STATES DISTRICT JUDGE




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